
614 So.2d 582 (1993)
I.T., a juvenile, Appellant,
v.
The STATE of Florida, Appellee.
Nos. 92-947, 92-1075.
District Court of Appeal of Florida, Third District.
February 16, 1993.
Rehearing Denied March 30, 1993.
Bennett H. Brummer, Public Defender and Rosa C. Figarola, Asst. Public Defender, for appellant.
*583 Robert A. Butterworth, Atty. Gen. and Roberta G. Mandel and Richard L. Polin, Asst. Attys. Gen., and Winnie M. Jordan, Certified Legal Intern, for appellee.
Before SCHWARTZ, C.J., and NESBITT and LEVY, JJ.
PER CURIAM.
We conclude that, in the totality of the surrounding circumstances, the officer's plain view observation of a plastic baggy of a type uniquely used for narcotics sticking out of the respondent's pocket provided probable cause for his arrest and subsequent search. P.L.R. v. State, 455 So.2d 363 (Fla. 1984); Cross v. State, 560 So.2d 228 (Fla. 1990); Council v. State, 442 So.2d 1072 (Fla. 3d DCA 1983). Hence, the motion to suppress the drugs found in the bag was properly denied and the adjudication on appeal in case number 92-1075 is therefore affirmed.
The imposition, on a separate charge, of community control without sanctions, which is challenged by the state in case number 92-947, was admittedly not entered in conformance with sections 39.052; 39.054, Florida Statutes (1991), and is therefore vacated.
Affirmed, vacated.
